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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

SAM STAMEY,                                     )
                                                )
         Plaintiff,                             )
                                                )    Case No. 3:19-cv-00250-DRL-MGG
v.                                              )
                                                )
FOREST RIVER, INC.,                             )
                                                )
         Defendant.                             )


                          DEFENDANT FOREST RIVER, INC.’S
                          MOTION FOR SUMMARY JUDGMENT

       Under Federal Rule of Civil Procedure 56, Defendant Forest River, Inc. respectfully

requests that this Court determine that there is no genuine dispute of material fact and that Forest

River is entitled to judgment as a matter of law on all claims, as explained more fully in Forest

River’s supporting memorandum and its exhibits.

       First, there is no genuine issue of material fact regarding Plaintiff Sam Stamey’s claims

under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-3, and the Age Discrimination

in Employment Act of 1967, 29 U.S.C. § 621 et seq. Forest River did not discriminate against

him based on sex or age, and he was not subjected to a hostile-work environment by his

coworkers. Moreover, there is no basis for employer liability because Forest River reasonably

responded to the complaints that Stamey raised despite the lack of detail he provided.

       Second, no reasonable juror could conclude that Forest River retaliated against Stamey.

There is no evidence of a materially adverse action or retaliatory animus.

       THEREFORE, for the reasons set forth in the accompanying memorandum and exhibits,

Forest River respectfully requests that the Court grant Forest River’s motion for summary

judgment and enter judgment in its favor on all of Stamey’s claims.
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Dated: July 30, 2020                                Respectfully submitted,

                                                    /s/ R. John Kuehn
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                                                    Forest River, Inc.


                              CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of July 2020, service of a true and complete copy
of the attached and foregoing pleading was made upon all counsel of record through CM/ECF
filing.

                                                    /s/ R. John Kuehn
                                                    R. John Kuehn




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